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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                 LOUISVILLE DIVISION

 UNITED STATES OF AMERICA                                                                  Plaintiff

 v.                                                      Criminal Action No. 3:19-cr-00208-RGJ

 JOSEPH SAMIR ZAKHARI                                                                    Defendant

                                            * * * * *

                          MEMORANDUM OPINION AND ORDER

       Defendant Joseph Zakhari moves to suppress and statements and challenges the

constitutionality of a protective sweep of his apartment at the time of his arrest. [DE 32]. The

Court held an evidentiary hearing. [DE 60]. Post-hearing briefs were filed. [DE 70, 73, 74]. This

matter is now ripe. For the reasons below, the Court GRANTS in part and DENIES in part the

Motion to Suppress. [DE 32].

                                         BACKGROUND

       On October 8, 2019, Zakhari was arrested outside of his apartment building by a team of

undercover law enforcement officers after exchanging sexually explicit messages over the social

app, Kik, with an undercover persona managed by Detective Matt Hedden. [DE 70 at 525–27].

After his arrest, Zakhari requested to be taken into his apartment to care for his pet. The arresting

officers obliged. [Id.; DE 60 at 442–43]. On entering Zakhari’s residence, officers conducted a

protective sweep to ensure there were no other people present in the apartment. [DE 60 at 443].

Once Zakhari’s pet was adequately cared for, the officers transported Zakhari to the Crimes

Against Children Unit (the “CACU”) of the Louisville Metro Police Department to conduct an

interrogation. [DE 60 at 424–25]. During both the search of Zakhari’s apartment and his

transportation to the CACU, officers did not ask Zakhari any questions about his alleged offenses



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nor prompt any discussion. [DE 60 at 424; DE 60, United States Exhibit 1: Beginning of Protective

Sweep; End of Protective Sweep, Transport to CACU].

       At the CACU, Detective Hedden and Zakhari entered an interview room where Detective

Hedden informed Zakhari of his Miranda rights. [DE 60 at 426]. Detective Hedden then began

asking Zakhari for personal biographical data. When Detective Hedden asked for Zakhari’s social

security number, the following exchange occurred:

       Detective Hedden: [What is] your social security number?

       Zakhari: Can I call my dad?

       Hedden: I mean I don’t – I don’t have your phone and I can’t give it to you right now.

       Zakhari: But you said I can stop anytime and call if I wanted to.

       Hedden: Yeah, well, is your dad an attorney?

       Zakhari: My sister is an attorney.

       Hedden: Do you want to call your sister?

       Zakhari: Yea–I mean, she– . . . [pause]

       Hedden: If you want to, yes, but that’s going to be the end of us talking. And that’s not my
       rule, that’s just the way it is.

       Zakhari: I understand, I just don’t know what more you want me to say. I made a huge
       mistake, if you want me to say that.

[DE 60, United States Exhibit 1: CACU Interview Room 1 (“Interview”) at 18:00:33-01:11].

       After the exchange, Detective Hedden continued to question Zakhari about the online

communications Zakhari had with the undercover persona on Kik. [Interview at 18:01:48-08:00;

18:09:44-17:50]. Later in the interrogation, while discussing whether the Kik app was still on

Zakhari’s cell phone, counsel was discussed again in the following exchange:

       Detective Hedden: Is the – is the Kik app still there on your phone?



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          Zakhari: It might be.

          Hedden: Were you using it today?

          Zakhari: Yeah, it’s how we communicated today.

          Hedden: Okay, um – is – so there’s messages still on there that might, kinda, prove some
          of what’s going on here?

          Zakhari: Yeah.

          Hedden: Okay. What’s the – is your phone locked in there?

          Zakhari: Sir, I would like my lawyer at this point. I don’t think this is fair to, you know,
          put me through much more than this.

[Id. at 18:17:43-18:07].

          Zakhari then asked Detective Hedden questions about the logistics of being taken to jail,

when Zakhari would be able to contact his family, and if Zakhari could call his father for advice

as to whether Zakhari should continue speaking with Detective Hedden. [Id. at 18:18:08-19:19].

Detective Hedden allowed Zakhari to use Zakhari’s cell phone to call his father as a courtesy and,

after handing Zakhari his phone, Detective Hedden began recording Zakhari’s actions in case

Zakhari attempted to manipulate his phone or wipe potential evidence. [Id. at 18:22:44-23:26; DE

60 at 430]. Zakhari objected to Detective Hedden recording his cell phone passcode. Detective

Hedden explained that it was a courtesy phone call that he was not required to let Zakhari make,

and that even with his cell phone password, Detective Hedden would need a warrant before

searching the contents of the device. [Interview at 18:23:20-24:29]. Understanding that he was

being recorded, Zakhari again asked for his phone, entered his passcode, called and spoke with his

father.    [Id. at 18:24:08-32:55].    After the phone call, Detective Hedden completed some

paperwork while answering Zakhari’s logistical questions about what would take place once they




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left the CACU. [DE 60 at 56–57]. Finally, LMPD officers transported him to the Louisville Metro

Department of Corrections. [DE 60 at 427].

         The grand jury charged Zakhari with attempted online enticement of a minor and attempted

transfer of obscene matter to a minor, [DE 9], and in a superseding indictment, with attempted

production of child pornography. [DE 50].

                                           DISCUSSION

         “It is well settled that in seeking suppression of evidence the burden of proof is upon the

defendant to display a violation of some constitutional or statutory right justifying suppression.”

United States v. Rodriquez-Suazo, 346 F.3d 637, 643 (6th Cir. 2003) (quoting United States v.

Feldman, 606 F.2d 673, 679 n.11 (6th Cir. 1979)). The defendant’s burden extends to both “the

burden of production and persuasion.” United States v. Patel, 579 F. App’x 449, 453 (6th Cir.

2014).

   A. Arrest and Protective Sweep of Zakhari’s Apartment.

         Zakhari identifies three “constitutional pressure points” in his motion: “first, the moment

of arrest, . . . second, a sweep through the entirety of Mr. Zakhari’s home, . . . and last, an

interrogation in police custody.” [DE 73 at 681-82]. Zakhari contends that “[t]he government’s

legal discussion of the first two of these stages . . . accurately presents the rules of law applicable

to the investigators’ conduct in those stages,” and states that “the Court can measure the

constitutionality of that conduct (and can well reach a different conclusion than the government

urges) without the help of additional commentary” and thus includes no further argument for the

suppression of either the arrest or sweep of Zakhari’s apartment. [DE 73 at 682].

         This Court ordered that any motion to suppress brought in this matter must “state with

particularity the grounds for the motion, the relief sought, and the legal argument necessary to



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support it. Further, a motion to suppress must expressly identify the exact statement(s) and/or

evidence sought to be suppressed.” [DE 16 at 42]. Zakhari has failed to state with sufficient

particularity the grounds for his Motion to Suppress as it pertains to Zakhari’s arrest or the

protective sweep of his apartment. Accordingly, Zakhari’s Motion to Suppress is DENIED with

leave to renew as to Zakhari’s arrest and the protective sweep of his apartment.

   B. Zakhari’s Invocation of his Right to Counsel.

       Defendant Zakhari moves to suppress the entirety of his interrogation by Detective Hedden

on October 8, 2018, arguing that he invoked his right to counsel at the outset of the interrogation

when he asked to call his dad and then his sister. [DE 73 at 682]. Zakhari additionally argues that

he invoked his right to counsel again when he said “Sir, I would like my lawyer at this point,” and

the United States concedes that this statement was a clear invocation of Zakhari’s right to counsel.

[DE 73 at 694; DE 70 at 542].

       “[I]ncriminating statements elicited from suspects in custody cannot be admitted at trial

unless the suspect was first advised of his or her Miranda rights.” United States v. Salvo, 133 F.3d

943, 948 (6th Cir. 1998) (citing Stansbury v. California, 511 U.S. 318, 322 (1994)). The burden

is on the United States to prove that a defendant validly waived his Miranda rights. See Seymour

v. Walker, 224 F.3d 542, 554 (6th Cir. 2000). To invoke his right to counsel, a suspect “must

articulate his desire to have counsel present sufficiently clearly that a reasonable police officer in

the circumstances would understand the statement to be a request for an attorney.” United States

v. Scott, 693 F.3d 715, 719 (6th Cir. 2012) (quoting Tolliver v. Sheets, 594 F.3d 900, 922 (6th Cir.

2010)). “If an accused makes a statement concerning the right to counsel ‘that is ambiguous or

equivocal’ or makes no statement, the police are not required to end the interrogation, or ask

questions to clarify whether the accused wants to invoke his or her Miranda rights.” Id. at 718



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(quoting Berghuis v. Thompkins, 560 U.S. 370, 381 (2010)). And “if a suspect makes a reference

to an attorney that is ambiguous or equivocal in that a reasonable officer in light of the

circumstances would have understood only that the suspect might be invoking the right to counsel,

[Supreme Court] precedents do not require the cessation of questioning.” Davis v. United States,

512 U.S. 452, 459–62 (1994).

       In Perreault v. Smith, the defendant exclaimed during his interrogation, “let’s call the

lawyer then ‘cause I gave what I could,” and the investigating officer explained that “getting a

lawyer’s not going to prevent [Perreault] from going to jail,” and Perreault continued talking with

the investigating officer thereafter. 874 F.3d 516, 519-20 (6th Cir. 2017). The Sixth Circuit held

that it was reasonable for the investigating officer to interpret Perreault’s statement as more akin

to negotiating than to invoking his right to counsel. Id. at 520. Similarly, in United States v.

Delaney, the Sixth Circuit held that a defendant’s purported invocation of his right to counsel by

asking, “I think I should talk to a lawyer, what do you think?” was ambiguous because it did not

“clearly indicate[ ] that Delaney would only deal with the police with counsel present.” 443 Fed.

Appx. 122, 130 (6th Cir. 2011).

       1. “Can I call my dad?”

       The first point at which Zakhari contends that he invoked his right to counsel was in the

beginning of his interrogation shortly after he asked Detective Hedden “Can I call my dad?” and

Detective Hedden asked whether Zakhari’s father was an attorney. [DE 73 at 689]. Zakhari

responded that his sister was an attorney, and Detective Hedden asked Zakhari if he would like to

call his sister; Zakhari began to answer then quickly trailed off before pausing to sigh. [Interview

at 18:00:33-01:11]. During Zakhari’s pause, Detective Hedden reiterated that Zakhari could speak

with an attorney if he wished and that doing so would terminate their discussion. [Id.; DE 60 at



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456]. Zakhari contends that he clearly invoked his right to counsel during this exchange because

“[t]here was no ambiguity in Mr. Zakhari’s request.” [DE 73 at 10]. The Court does not find

Zakhari’s response to be a clear and unambiguous invocation of his right to counsel.

        When Detective Hedden asked Zakhari if he would like to call his sister, Zakhari’s response

was equivocal; while he began answering, he looked away and quickly stammered through the

beginning of an affirmative answer, “yea—,” and a different thought, “I mean she—,” before

sighing and remaining silent for a few seconds until Detective Hedden began speaking again.

[Interview at 18:00:47-58]. As the United States argues, “Zakhari’s requests to talk with his sister

and father more closely resemble[d] an attempt to speak with family than a serious request for

counsel.” [DE 70 at 541]. It is unlikely that a reasonable police officer would interpret Zakhari’s

indecisive utterances to be a clear invocation of his right to counsel. Detective Hedden then

clarified what the implications would be if Zakhari invoked his right to counsel, and in response,

Zakhari chose to continue answering Detective Hedden’s questioning. [Interview at 18:00:56-

01:49]. Accordingly, Zakhari’s Motion to Suppress is DENIED as it pertains to statements

following this exchange.

        2. “Sir, I would like my lawyer at this point.”

        The second point at which Zakhari contends that he invoked his right to counsel occurred

about 18 minutes later in Zakhari’s interrogation. [DE 73 at 694]. In response to Detective

Hedden’s questions about what potential evidence might be on Zakhari’s phone and how to access

it, Zakhari stated, “Sir, I would like my lawyer at this point. I don’t think this is fair to – you know

– put me through much more than this.” [Interview at 18:17:59-18:06; DE 73 at 14]. The United

States concedes that this statement “clearly invoked [Zakhari’s] right to consult with an attorney.”

[DE 70 at 542]. The Court agrees, and thus, Zakhari’s Motion to Suppress [DE 32] is GRANTED



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as to the portion of the interrogation after Zakhari invoked his right to counsel (at 18:18:06 on the

Interview video [DE 60, United States Exhibit 1: Interview] time counter).

   C. Detective Hedden’s Recording of Zakhari’s iPhone Passcode.

       Zakhari contends that because he properly invoked his right to counsel, all of his

subsequent statements must be suppressed including his “surrendering the passcode for his

cellphone,” [DE 73 at 649], which was relied on in part to secure a search warrant for the contents

of Zakhari’s phone. [DE 32 at 99]. The Court finds that Zakhari’s operation of his cell phone was

not in response to police interrogation and is therefore admissible.

       In Edwards v. Arizona, the Supreme Court held that “an accused, . . . having expressed his

desire to deal with police only through counsel, is not subject to further interrogation by the

authorities until counsel has been made available to him, unless the accused himself initiates

further communication, exchanges, or conversations with the police.” 451 U.S. 477 at 484-85

(1981) (emphasis added). “[T]he term ‘interrogation’ under Miranda refers not only to express

questioning,” but extends to any communication that functions as interrogation, including “any

words or actions on the part of the police (other than those normally attendant to arrest and custody)

that the police should know are reasonably likely to elicit an incriminating response from the

suspect.” R.I. v. Innis, 446 U.S. 291 at 301 (1980). This definition of interrogation places focus

“primarily on the perceptions of the subject, rather than the intent of the police.” Id.

       In Arizona v. Mauro, after a suspect, Mauro, had properly invoked his right to counsel, an

interrogating detective permitted Mauro to speak with his wife in satisfaction of the wife’s

continued demands to do so. 481 U.S. 520 at 528 (1987). The detective remained present while

Mauro spoke with his wife, and he recorded their discussion in which Mauro made incriminating

statements. Id. The Supreme Court held that the detective did not functionally interrogate Mauro



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by permitting him to speak with his wife, even though the detective “knew it was ‘possible’ that

Mauro might make incriminating statements if he saw his wife,” because there was “no evidence

that the officers sent [Mauro’s wife] in to see her husband for the purpose of eliciting incriminating

statements,” and because “[o]fficers do not interrogate a suspect simply by hoping that he will

incriminate himself.” Id. at 524, 527, 529. Further, the detective’s presence during, and recording

of, the spouses’ conversation was proper because the detective’s testimony “indicated a number of

legitimate reasons -- not related to securing incriminating statements -- for having a police officer

present.”1 Id. at 528. Ultimately, the Supreme Court held that the police did not violate Mauro’s

Fifth Amendment rights by allowing him to speak with his wife in the presence of a police officer

after Mauro had properly invoked his right to counsel. See id.

         In this matter, Zakhari’s operation of his cell phone and phone call with his father were not

in response to interrogation by the police. After invoking his right to counsel, Zakhari repeatedly

asked Detective Hedden how and when he could get in touch with his father. [Interview 18:18:08-

19:16]. In response to Zakhari’s repeated questions, Detective Hedden offered to allow Zakhari

to speak with his father on Detective Hedden’s phone but because Zakhari did not remember his

father’s phone number, Zakhari asked if they could use his phone to make the call. [Id. at 18:19:32-

44]. The two then agreed that Detective Hedden would allow Zakhari to make the phone call on

Zakhari’s phone under Detective Hedden’s supervision. [Interview at 18:19:31-48]. Like the

detective in Arizona v. Mauro, Detective Hedden did not provoke or persuade Zakhari to speak

with his father, but allowed Zakhari to speak with his father at his request. Detective Hedden’s

recording of Zakhari’s use of his phone was also permissible because Detective Hedden cited to


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 The police cited to fears for Mauro’s wife’s “safety, and they were also concerned about security . . . and
whether some escape attempt might have been made, or whether there might have been an attempt to
smuggle in a weapon. They really had no idea what to expect along those lines.” Ariz. v. Mauro, 481 U.S.
520 at 523-24 (1987).

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legitimate concerns that Zakhari could manipulate his cell phone – and thus the potential evidence

stored on it – if he were permitted to use it unsupervised.2 For these reasons, Zakhari’s Motion to

Suppress is DENIED as to Zakhari’s use of his cell phone and phone conversation with his father

(from 18:24:09-32:55 on the Interview video [DE 60, United States Exhibit 1: Interview] time

counter).

                                            CONCLUSION

        Accordingly, for the reasons stated, and the Court being otherwise sufficiently advised, IT

IS ORDERED that Zakhari’s Motion to Suppress Evidence [DE 32] is GRANTED in part and

DENIED in part as set forth above. This matter is set for a status conference on November 17,

2020 at 11:30 a.m. at the Gene Snyder United States Courthouse before the Honorable Rebecca

Grady Jennings, United States District Judge.




Cc:     Counsel of record

                                                                           October 21, 2020




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  Detective Hedden stated that his “concern was that Mr. Zakhari could potentially wipe out the phone – it
was an iPhone, so they’re not terribly difficult to wipe the data from the device. . . . [and since] anything
that would happen to that device would fall back ultimately to [Detective Hedden].” [DE 60 at 25].

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